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                              UNITED STATES BANKRUPTCY COURT

                           SOUTHERN DISTRICT OF OHIO (DAYTON)

IN RE:                                                *        CASE NO. 19-30822

TAGNETICS INC.                                        *        JUDGE: Humphrey

         INVOLUNTARY DEBTOR                           *        CHAPTER 7

                                                      *        MOTION TO COMPEL PRODUCTION OF
                                                               DOCUMENTS


               MOTION TO COMPEL THE PRODUCTION OF DOCUMENTS

                                     NOTICE OF MOTION PER LBR 9013

                                 PLEASE READ THIS NOTICE CAREFULLY

        You are hereby notified that Christopher L. Wesner has filed papers with the Court requesting an Order to
Compel Tagnetics Inc. to produce the combined discovery requested by Petitioning Creditors Kayser Ventures Ltd.
and S-Tek Inc. (hereinafter called the “Motion”).

        Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult one.)

         If you do not want the Court to grant the Motion, or if you want the Court to consider your views on the
Motion, then on or before twenty-one (21) days from the date set forth in the certificate of service for the Motion,
you or your attorney must file with the Court a response explaining your position by making your response by regular
US Mail to:
                                                   Clerk of Court’s
                                        U.S. Bankruptcy Court Clerk’s Office
                                       120 West Third Street, Dayton OH 45402

         or your attorney must file a response using the Court’s ECF System.

         Copies of the Court’s Administrative Procedures for electronic filings can be found at the following website:
http://www.ohsb.uscourts.gov

         You must file the response early enough so the Court will receive it on or before the date set forth
above.

        You must also send a copy of your response to Christopher L. Wesner. You may either electronically serve
Roger E. Luring through the Court’s ECF System, or by regular US Mail to:


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                   Christopher L. Wesner
                   Miller Luring Venters & Wesner Co., LPA
                   314 West Main Street, Troy OH 45373

        If you or your attorney do not take these steps, the Court may decide that you do not oppose the relief sought
in the Motion and may enter an order granting that relief without further hearing or notice.

 07/11/19                                                               /s/ Christopher L. Wesner
Date of Issuance                                                        Christopher L. Wesner



                                                    MOTION


        Here comes Petitioning Creditors Kayser Ventures Ltd. and S-Tek Inc. by and through
their counsel Christopher L. Wesner and hereby requests the Court to issue an Order to compelling
Tagnetics Inc. to produce the documents requested through discovery. Kayser Ventures Ltd. and
S-Tek Inc. made a combined Interrogatories and Request for Production of Documents on or about
May 23, 2019. A telephonic pretrial occurred on or about June 10, 2019, at that time all parties
agreed to produce limited discovery by June 28, 2019. On or about June 17, 2019 Attorney Wesner
assented to the Agreed Order on behalf of Kayser Ventuers Ltd. and S-Tek Inc. At this time, no
discovery whatsoever has been provided as of 7/10/2019, by Tagnetics Inc. and with the trial date
looming on July 29, 2019, it is imperative that Tagnetics Inc. produce the requested discovery.

Dated: July 11, 2019                                   Respectfully submitted,
                                                       /s/ Christopher L. Wesner
                                                        Miller, Luring, Venters, Wesner Co. LPA
                                                        314 W. Main Street
                                                        Troy, OH 45373
                                                        Phone: (937) 339-8001
                                                        Fax:    (937) 339-5440
                                                        Email: chriswes nerla w@gmail.c om

                                       CERTIFICATE OF SERVICE
        I hereby certify that this document was served by email (when the email address of the party was available
to me) and regular U.S. mail this day of July 11, 2019 upon the following:

             Stephen B. Stern
             238 W. Street
             Annapolis, MD 21401
             Counsel for Tagnetics Inc.

             Robert Kracht
             101 W. Prospect Avenue, Suite 1800
             Cleveland, OH 44115
             Counsel for Tagnetics Inc.

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         S-Tek Inc.
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         John White
         Tagnetics Inc.
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         Troy, OH 45373
                                          /s/ Christopher L. Wesner (0082699)




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